PROB 12C-SUM

(05/21)
                             UNITED STATES DISTRICT COURT
                                                          for
                                       Western District of Washington
                       Petition for Warrant or Summons for Person Under Supervision
                                              Warnock Brian 12C_WAR
Name:                Brian Warnock                                          Case Number: 2:22CR00150LK-001
Name of Judicial Officer: The Honorable Lauren King, United States District Judge
Date of Original Sentence: 08/13/2024                                                 Date of Report: 05/23/2025
Original Offense:      Ct. 1: Possession of a Controlled Substance with Intent to Distribute
                       Ct. 4: Possession of a Firearm in Furtherance of a Drug Trafficking Crime
Original Sentence:     Time Served and three years’ supervised release
Type of Supervision: Supervised Release                              Date Supervision Commenced: 08/13/2024
                                                                           Date Supervision Expires: 08/12/2027
Assistant United States Attorney: Cecelia Gregson                               Defense Attorney: Jeffrey Kradel
Special Conditions Imposed:
☒ Substance Abuse                 ☒ Financial Disclosure              ☐ Restitution:
☒ Mental Health                   ☐ Fine                              ☐ Community Service
☒ Other: notify all physicians of substance use history and submit to search
                                           PETITIONING THE COURT
☐         To issue a warrant under seal
☒         To issue a summons

I allege Brian Warnock has violated conditions of supervision by:

  Violation
  Number Nature of Noncompliance
   1.       Consuming methamphetamine on or about the following dates, in violation of a mandatory condition
            of supervised release.
                   •   April 9, 2025
                   •   May 20, 2025

     2.        Failing to report for scheduled urinalysis on the following dates, in violation of a special condition of
               supervised release.
                   •   May 6, 2025
                   •   May 21, 2025

     3.        Consuming marijuana on or about May 5, 2025, in violation of a mandatory condition of supervised
               release.
     4.        Consuming alcohol on or about May 5, 2025, in violation of a special condition of supervised release

I incorporate by reference the information contained in the attached memorandum.
The Honorable Lauren King, United States District Judge                                                    Page 2
Petition for Warrant or Summons for Person Under Supervision                                          May 23, 2025

United States Probation Officer Recommendation:
☒ The term of supervision should be
  ☒ revoked.
  ☐ extended for       years, for a total term of   years.
☐ The conditions of supervision should be modified as follows:

☐ Detention pending final adjudication due to
  ☐ risk of flight.
  ☐ danger to community.



I swear under penalty of perjury that the              APPROVED:
foregoing is true and correct.                         Monique D. Neal
                                                       Chief United States Probation and Pretrial Services Officer
Executed on this 23rd day of May, 2025.                BY:

A                                                      A
Julie Jansen                                           Analiese D. Johnson
United States Probation Officer                        Supervising United States Probation Officer

                       THE COURT FINDS PROBABLE CAUSE AND ORDERS:
☐ The Issuance of a Warrant under seal
  (conditions of supervision shall remain in effect pending final adjudication)
x The Issuance of a Summons
☐
  (conditions of supervision shall remain in effect pending final adjudication)
☐ Other




                                                                           Signature of Judicial Officer
                                                                             May 23, 2025
                                                                                       Date
